EXHIBIT #2
                                                                         E-Filed for Record
                                                                         1/26/2022 6:06 PM
                                                                         Jack County District Clerk , TX
                                                                         By: Tracie Pippin

                                        22-01-014
                             Cause No. _________________


 In re Sadie Weldon,                              IN THE DISTRICT COURT
                                                      JACK COUNTY, TEXAS
                         Petitioner                271st
                                                   ____ JUDICIAL DISTRICT


          VERIFIED PETITION TO TAKE DEPOSITION TO
                   INVESTIGATE A LAWSUIT
    Petitioner Sadie Weldon respectfully asks the Court for permission to take a dep-

osition by oral examination of                 of the Lilith Fund for Reproductive Eq-

uity. Ms. Weldon seeks this testimony to investigate potential claims brought by Ms.

Weldon or others under section 171.208 of the Texas Health and Safety Code.

          PERSONS TO BE DEPOSED AND JURISDICTION
    1. Petitioner Sadie Weldon is a citizen of Texas and resident of Jack County.

    2. Ms. Weldon seeks to depose                   . Upon information and belief,

      is a resident of       County and may be served at

                .           telephone number is                    .

    3. In accordance with Rule 202.2(b)(1) of the Texas Rules of Civil Procedure,

this petition is filed in Jack County, the county in which the venue of the anticipated

suit may lie.

    4. This petition is verified by Ms. Weldon, as required by Rule 202.2(a) of the

Texas Rules of Civil Procedure.

                             ANTICIPATED ACTION
    5. This petition is filed in anticipation of possible future civil actions brought un-

der section 171.208 of the Texas Health and Safety Code, against individuals and

organizations that performed or aided or abetted abortions in violation of the Texas

Heartbeat Act, also known as Senate Bill 8 or SB 8. It is also filed to investigate the

possibilities for future civil actions brought under section 171.208 of the Texas Health




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and Safety Code. In her capacity as deputy director of the Lilith Fund for Reproduc-

tive Equity (“Lilith Fund”),                  has stated in a sworn declaration that her

organization knowingly and intentionally aided or abetted at least one post-heartbeat

abortion in violation of the Texas Heartbeat Act. See Declaration of                   ¶8

(attached as Exhibit 1).

      6.           submitted this sworn declaration in a lawsuit that her organization

brought against Texas Right to Life and its legislative director, John Seago. This law-

suit was originally filed as Lilith Fund for Reproductive Equity v. State of Texas, et al.,

No. D-1-GN-21-004504 (Travis County), and was transferred by the multidistrict

litigation panel to 98th Judicial District Court of Travis County. Those pre-trial pro-

ceedings were conducted under the caption of Van Stean v. State of Texas, et al., No.

D-1-GN-21-004179, and the cases are currently on appeal to the Third Court of

Appeals in Austin. See Texas Right to Life, et al. v. Van Stean, et al., No. 03-21-00650-

CV.

      7. The Lilith Fund for Reproductive Equity (“Lilith Fund”) is expected to have

information relevant to the potential claims that Ms. Weldon is investigating, and it is

expected to have interests adverse to Ms. Weldon in any anticipated suit. The Lilith

Fund’s mailing address is                                                              ; its

registered office is at                                                           ; and its
fax number is                  . Its phone number is unknown.

      8.              is expected to have information relevant to the potential claims

that Ms. Weldon is investigating, and she is expected to have interests adverse to Ms.

Weldon in any anticipated suit. On information and belief,                address is

                                       , and her phone number is                       .

      9. Additional parties are expected to have information relevant to the potential

claims that Ms. Weldon is investigating, as well as interests adverse to Ms. Weldon’s in

any anticipated suit, but the identities of those parties are currently unknown.


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       sworn declaration states that the Lilith Fund aided or abetted the provision of

at least one post-heartbeat abortion performed in Texas. But                  declaration

does not say who provided those post-heartbeat abortions, nor does it identify the

individuals who aided or abetted these illegal abortions. Ms. Weldon’s goal is to use

the deposition sought by this petition to ascertain the identity of all individuals and

organizations who are subject to liability under section 171.208.

                        NOTICE OF RELATED CASES
    10. There are no ongoing cases between Ms. Weldon and                         . There

are also no ongoing cases between Ms. Weldon and the Lilith Fund.
    11. There are several ongoing cases that seek to restrain state officials and private

individuals from enforcing certain provisions in SB 8. One of those cases is Whole

Woman’s Health v. Jackson, in which the plaintiffs are attempting to enjoin state li-

censing authorities from taking adverse action against abortion providers and medical

professionals that violate the Texas Heartbeat Act. That case is currently pending in

the U.S. Court of Appeals for the Fifth Circuit, after a remand from the Supreme

Court of the United States. See Whole Woman’s Health v. Jackson, No. 21-50792 (5th

Cir.); see also Whole Woman’s Health v. Jackson, 142 S. Ct. 522 (2021). On January

17, 2022, the Fifth Circuit certified a state-law question to the Supreme Court of
Texas. See Whole Woman’s Health v. Jackson, --- F.4th ----, 2022 WL 142193 (5th

Cir.). Those certification proceedings remain pending in the state supreme court.

    12. A coalition of abortion providers and abortion funds has also filed suit in

state court to restrain Texas Right to Life and its legislative director, John Seago, from

initiating lawsuits against them under section 171.208 of the Texas Health and Safety

Code. The district judge in those cases denied the defendants’ motion to dismiss un-




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der the Texas Citizens Participation Act, and the defendants have taken an interlocu-

tory appeal from that ruling. That appeal is currently pending in the Third Court of

Appeals. See Texas Right to Life v. Van Stean, No. 03-21-00650-CV.

                                 BACKGROUND
    13. The Texas Heartbeat Act, also known as SB 8, outlaws abortion after a fetal

heartbeat is detectable. See Tex. Health & Safety Code § 171.204.

    14. SB 8 prohibits state officials from enforcing the law. See Tex. Health & Safety

Code § 171.207. Instead of public enforcement by state officials, SB 8 establishes a

private right of action that authorizes individuals to sue those who violate the statute.
See Tex. Health & Safety Code § 171.208. These private civil-enforcement suits may

be brought against anyone who “performs or induces” a post-heartbeat abortion, see

id. at § 171.208(a)(1), as well as anyone who “knowingly engages in conduct that

aids or abets the performance or inducement of an abortion, including paying for or

reimbursing the costs of an abortion through insurance or otherwise, if the abortion

is performed or induced in violation of [SB 8],” id. at § 171.208(a)(2). Lawsuits may

also be brought against anyone who “intends” to perform or aid or abet a post-heart-

beat abortion in Texas.

    15. A plaintiff who successfully sues an individual or organization under section
171.208 is entitled to injunctive relief and $10,000 in statutory damages for each

unlawful abortion that the defendant performed or facilitated, plus costs and attor-

neys’ fees. See Tex. Health & Safety Code § 171.208(b).

    16. The Texas Heartbeat Act took effect on September 1, 2021, and it has re-

mained in effect as the law of Texas since that time.

    17. The person that Ms. Weldon seeks to depose is the leader of an organization

that helps women in Texas abort their unborn children.                  is deputy direc-

tor of the Lilith Fund for Reproductive Equity (“Lilith Fund”). She is “responsible




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for executing Lilith Fund’s mission, ensuring our programs are effective and efficient,

and supervising staff and volunteers.”           Decl. ¶ 3 (attached as Exhibit 1).

     18. The Lilith Fund aids or abets abortion in Texas through a variety of means.

As             explained in a sworn statement, the Lilith Fund “provides financial as-

sistance and emotional support for people needing abortions in Texas.”                Decl.

¶ 4 (attached as Exhibit 1).

     19. Since the Texas Heartbeat Act took effect on September 1, 2021, the Lilith

Fund has aided or abetted at least one post-heartbeat abortion in violation of the law.

In her sworn declaration,              stated:

       Lilith Fund has engaged in conduct with the intent to assist pregnant
       Texans obtain abortions after the detection of cardiac activity. Specifi-
       cally, following the entry of an injunction by the Honorable Robert
       Pitman on October 6, 2021, Lilith Fund paid for at least one abortion
       without confirming the gestational age of the client’s pregnancy and at
       least one abortion with the belief that the client’s pregnancy was after
       the period in which cardiac activity is usually detectable. In doing so, it
       was Lilith Fund’s intention to pay for the abortions even if cardiac ac-
       tivity was detected.
      Decl. ¶ 8 (attached as Exhibit 1).

     20. Ms.         sworn declaration also states that the Lilith Fund “partners with”

several abortion providers in northern Texas. This includes “clinics that have publicly
confirmed that post-cardiac activity abortions were performed” in violation of the

Texas Heartbeat Act.           Decl. ¶ 9 (attached as Exhibit 1).

                        REQUEST FOR DEPOSITION
     21. Ms. Weldon seeks a court order authorizing her to depose                 because

she seeks to investigate potential claims that she or others might bring under section

171.208 of the Texas Health and Safety Code, against any person or organization that

performed or aided or abetted illegal post-heartbeat abortions of the type described

in             declaration. See Tex. R. Civ. P. 202(d)(2).




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    22. Ms. Weldon additionally seeks to depose                   because she anticipates

the institution of a suit in which            or the Lilith Fund may be a party. See Tex.

R. Civ. P. 202(d)(1).

    23. There is good reason for this court to find that deposing                    at this

time is the best way to avoid a delay or failure of justice in an anticipated suit. See Tex.

R. Civ. P. 202.4(a). In addition, the likely benefit of allowing Ms. Weldon to depose

           to investigate a potential claim outweighs the burden or expense of the

procedure. See Tex. R. Civ. P. 202.4(b).

    24. Ms. Weldon is considering whether to sue individuals and organizations that

performed or facilitated the illegal abortions described in               declaration. The

sworn statement of             makes it clear that the Lilith Fund has violated the Texas

Heartbeat Act in a manner that could expose its employees, volunteers, and donors

to liability under section 171.208 of the Texas Health and Safety Code.

    25. Yet Ms. Weldon is unwilling to file suit as this time because she is still inves-

tigating the range of potential defendants, as well as any possible defenses or substan-

tive arguments that they might raise in the litigation. Ms. Weldon expects to be able

to better evaluate the prospects for legal success after deposing              and discov-

ering the extent of involvement of each individual that aided or abetted post-heartbeat

abortions in violation of SB 8.
    26. Ms. Weldon also wishes to preserve evidence of how the Lilith Fund aided

or abetted abortions in violation of SB 8, as well as evidence surrounding the involve-

ment of each individual who aided or abetted these illegal abortions. Ms. Weldon

seeks to depose              on topics including the following: the Lilith Fund’s exact

role in supporting, funding, and facilitating abortions provided in violation of the

Texas Heartbeat Act; the identity of each individual or entity that the Lilith Fund

collaborated with in providing these illegal abortions; the number of illegal abortions

provided; whether the Lilith Fund has in any way distinguished its funding streams


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for advocacy and its funding streams for conduct that aids or abets illegal abortions

performed in Texas; and the sources of financial support for the Lilith Fund. Ms.

Weldon also seeks discovery of documents1 that reveal the sources of funding for Lilith

Fund’s operations and address the issues that will be covered in the deposition.

    27. Deposing                   allows Ms. Weldon to preserve evidence of great im-

portance to the anticipated litigation.              sworn declaration already attests to

her knowledge of violations of the law. What Ms. Weldon does not know is how many

violations occurred and what other parties were involved in providing these illegal

abortions. The value of this information to any subsequent litigation, and to the im-

portant policies embodied in the Heartbeat Act, is high. It is, indeed, essential to be

able to implement the law.

    28. Delay in obtaining this evidence increases the chances that information about

the abortions provided will be forgotten and that documentation will become more

difficult to obtain. Given the widespread press coverage of the Texas Heartbeat Act,

including attention to the risks taken by abortion providers who choose to violate the



1. The scope of a pre-suit deposition under Rule 202 is the same as a regular depo-
   sition of non-parties in litigation. See Tex. R. Civ. P. 202.5. This specifically allows
   document-production requests. See Tex. R. Civ. P. 199.2(b)(5) (providing for re-
   quests for production along with a deposition notice); Tex. R. Civ. P. 205.1(c)
   (providing for noticing document production requests to nonparties); In re City
   of Tatum, 567 S.W.3d 800, 808 (Tex. App. 2018) (“The “language of these rules
   when read together permits a petition seeking a pre-suit deposition under Rule
   202 to also request the production of documents.’” quoting In re Anand, No.
   01-12-01106-CV, 2013 WL 1316436, at *3 (Tex. App. Apr. 2, 2013)). See also
   City of Dallas v. City of Corsicana, No. 10-14-00090-CV, 2015 WL 4985935, at
   *6 (Tex. App. Aug. 20, 2015) (“Under rule 202, documents can be requested in
   connection with a deposition.”). While some courts have refused to permit docu-
   ment discovery under Rule 202, see, e.g., In re Pickrell, No. 10-17-00091-CV,
   2017 WL 1452851, at *6 (Tex. App. Apr. 19, 2017), they have not analyzed the
   text of Rule 202.5 or its relationship to Rule 199. See In re City of Tatum, 567
   S.W.3d 800, 808 n. 7 (Tex. App. 2018) (criticizing courts denying document pro-
   duction under Rule 202).


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Act’s provisions,2 there is considerable incentive for violators to hide or obscure any

record of their involvement in unlawful activities.

    29. Without the documentation, there would be a risk of miscarriage or delay of

justice, as the law of Texas would be difficult or impossible to enforce. The policy of

the state will be thwarted if it is not possible to identify the parties complicit in provid-

ing illegal abortions.

    30. It would also enhance judicial efficiency to allow the eventual lawsuit to con-

sider the entire chain of events (from funding to actual performance of the abortion)

involved in the particular violations of SB 8 that                 described in her sworn

statement. Waiting for discovery in the course of litigation not only runs increased

risks of forgetfulness or record-keeping deficiencies. It also has costs to the admin-

istration of justice in that the courts would have to adjudicate the matters either in

separate proceedings, or through complaints successively amended to add additional

defendants. Allowing deposition under Rule 202 would avoid this delay of justice.

    31. The burden on                 is modest. To be sure, she must appear for a dep-

osition and must produce documents. But the inconvenience will only grow greater

with any delay, as memories fade and documents accumulate. The value of the infor-

mation sought outweighs the burden, as required by Rule 202.

    32. Ms. Weldon seeks to depose                  by oral deposition. See Tex. R. Civ. P.
199. A notice of deposition identifying the topics for examination is attached to this

Petition as Exhibit 2. This procedure will impose a minimal burden on                  while

permitting Ms. Weldon to preserve for future litigation information about the illegal

abortions that             has acknowledged.




2. See, e.g., Abigail Abrams, Inside The Small Group of Doctors Who Risked Everything
   to Provide Abortions in Texas, Time (Oct. 14, 2021), available at
   https://bit.ly/3qxa5qx.


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    33. Ms. Weldon further requests that the court order              to produce at or

before the deposition any and all non-privileged documents relating to: Lilith Fund’s

role in supporting, funding, and facilitating abortions provided in violation of the

Texas Heartbeat Act; the identity of all individuals or entities that the Lilith Fund

collaborated with in providing these illegal abortions; the number of post-heartbeat

abortions provided in Texas since September 1, 2021; and the sources of financial

support for the Lilith Fund’s abortion-assistance activities.

                          REQUEST FOR HEARING
    34. After the service of this petition and a notice of hearing, Ms. Weldon respect-
fully requests that the court conduct a hearing, in accordance with Rule 202.3(a) of

the Texas Rules of Civil Procedure, to determine whether to issue an order allowing

the deposition.

                            REQUEST FOR RELIEF
    35. For these reasons, Ms. Weldon respectfully requests that the court set a date

for a hearing on this petition, and thereafter issue an order:

           a. finding that the benefits of a deposition and accompanying production
              of documents outweighs the burden;

           b. finding that a deposition and accompanying production of documents
              will avoid delay or failure of justice;

           c. authorizing Ms. Weldon to take an oral deposition of             ;

           d. requiring            to produce the documents identified by this peti-
              tion, at a time and place to be agreed by the parties; and

           e. awarding all other relief that the Court may deem just, proper, or eq-
              uitable.




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                                      Respectfully submitted.

                                       /s/ Jonathan F. Mitchell
Gene P. Hamilton*                     Jonathan F. Mitchell
Virginia Bar No. 80434                Texas Bar No. 24075463
Vice-President and General Counsel    Mitchell Law PLLC
America First Legal Foundation        111 Congress Avenue, Suite 400
300 Independence Avenue SE            Austin, Texas 78701
Washington, DC 20003                  (512) 686-3940 (phone)
(202) 964-3721                        (512) 686-3941 (fax)
gene.hamilton@aflegal.org             jonathan@mitchell.law

D. Bryan Hughes                       Erick G. K a ardal*
Texas Bar No. 00793995                Minnesota Bar No. 0229647
Law Office of D. Bryan Hughes         Mohrman, Kaardal & Erickson, P.A.
110 North College Avenue, Suite 207   150 South Fifth Street, Suite 3100
Tyler, Texas 75702-7221               Minneapolis, Minnesota 55402
(903) 581-1776 (phone)                (612) 341-1074 (phone)
bryan@hughesfirm.com                  (612) 341-1076 (fax)
                                      kaardal@mklaw.com
H. Dustin Fillmore III
Texas Bar No. 06996010                Thom as Brejcha*
Charles W. Fillmore                   Illinois Bar No. 0288446
Texas Bar No. 00785861                Martin Whittaker
The Fillmore Law Firm, LLP            Texas Bar No. 24095097
1200 Summit Avenue, Suite 860         Thomas More Society
Fort Worth, Texas 76102               309 West Washington Street, Suite 1250
(817) 332-2351 (phone)                Chicago, Illinois 60606
(817) 870-1859 (fax)                  (312) 782-1680 (phone)
dusty@fillmorefirm.com                (312) 782-1887 (fax)
chad@fillmorefirm.com                 info@thomasmoresociety.org

* pro hac vice applications
  forthcoming

Dated: January 26, 2022               Counsel for Petitioner




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